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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TENNESSEE
                                        WESTERN DIVISION

ZURICH AMERICAN INSURANCE
COMPANY as subrogee of Staff Line, LLC,

           Plaintiff,
                                                                         No. 2:20-cv-2413
v.

TECHNICOLOR VIDEOCASSETTE
OF MICHIGAN, INC.,

      Defendant.
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

           Pursuant to 28 U.S.C. §§ 1441-1453, the Defendant, Technicolor Videocassette of

Michigan, Inc., by and through counsel, files this Notice of Removal of the present case from the

Shelby County Circuit Court, in Memphis, Tennessee, to the United States District Court for the

Western District of Tennessee at Memphis, and avers as follows:

      1. The Plaintiff initiated this action on April 28, 2020, by filing a Complaint in the Shelby

County Circuit Court.1

      2. Plaintiff is an Illinois corporation with a principal place of business in Illinois. (Compl. at

¶ 1.)

      3. The Defendant, Technicolor Videocassette of Michigan, Inc., received service of the

Summons and Complaint on May 17, 2020. Plaintiff sent process via certified mail to Defendant

on May 14, 2020.




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    The Summons and Complaint are attached as Exhibit A, collectively.
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   4. This action is of a civil nature alleging subrogation of workers’ compensation benefits paid

to an employee of Plaintiff’s subrogor.

   5. Defendant Technicolor Videocassette of Michigan, Inc. is a Delaware corporation with its

principal place of business in Camarillo, California. (Compl. at ¶ 2.)

   6. The present lawsuit is removable from state court to this Court pursuant to 28 U.S.C. §

1332(a) because the suit involves a controversy between citizens of different states and the amount

in controversy exceeds $75,000.00, excluding interest and costs.

   7. The Defendant respectfully avers that time for removal has not expired under 28 U.S.C. §

1446(b). This Notice of Removal has been filed “within thirty days after receipt by the defendant,

through service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon

which such action or proceeding is based.” 28 U.S.C. § 1446(b).

   8. Venue is proper in this district because the state court where this action was commenced is

within this Court’s district, therefore this action is properly removable to this Court under 28

U.S.C. § 1441(a).

   9. Pursuant to 28 U.S.C. § 1446(d), undersigned counsel certifies that a copy of this Notice

of Removal will be served promptly on Plaintiff, through its counsel of record Michael A. Durr,

and filed with the Clerk of the Shelby County Circuit Court in Memphis, Tennessee.

       WHEREFORE, the above-captioned action, now pending in the Shelby County Circuit

Court, is removed therefrom to this Honorable Court.




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                                           Respectfully submitted:

                                           /s/ Shea Sisk Wellford
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing has been
served upon the following, by U.S. Mail, postage prepaid, on this the 12th day of June, 2020.

       Michael A. Durr
       Quist, Fitzpatrick & Jarrard PLLC
       800 S. Gay St, Suite 2121
       Knoxville, TN 37929



                                           /s/ Shea Sisk Wellford
                                           Shea Sisk Wellford




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